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  NOTES TO THE FOLLOWING:

  1. Draft and Confidential
  2. Subject to Material Revision
  3. Aging calculated from invoice due dates disclosed in the company’s Excel file
  provided on October 11, 2019
  4. Copies of invoices, liens, and any associated correspondence between the
  company and vendors have not been provided.
  5. Company provided information for balances outstanding on or around the end of
  August. No subsequent accounts payable details have been provided.
  6. There are credit amounts, (i.e. negative values), included in the Excel file provided
  by the company. These credit amounts (ranging approximately from .3M to .4M)
  offset the Accounts Payable balances. Further information is required from the
  company to understand the nature of these amounts
  7. Certain invoices may have been paid in September 2019 per the company’s Excel
  file (less than $3M), but it is unknown if the checks have been released to the
  vendors, and no new invoices have been entered to reflect any update beyond the
  end of August 2019
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          As of Date           Over 90 Days
          2/22/2019            $ 4,868,117
          3/18/2019               7,447,727
           4/1/2019               9,170,162
          4/18/2019              10,544,884




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                                                           2/22/2019
                        Vendor Name                    Over 90 Days
     3H TRUCKING, LLC                                      $       -
     5J Oilfield Services, LLC                                     -
     ALPHA & OMEGA                                                 -
     A-1 SIGN ENGRAVERS, INC.                                    (182)
     ANCHOR DRILLING FLUIDS USA LLC                                -
     AFD Quality Fuels & Petroleum                             (98,357)
     Alamo Pressure Pumping LLC                                    -
     Ally Consulting, LLC                                          -
     ALNC Inc.                                                     -
     APOLLO LIGHTING SOLUTIONS INC.                                -
     AQUARIUS CHEMICAL,LLC                                         -
     ARCHROCK SERVICES, L.P.                                       -
     ALAN R TRUCKING                                               -
     Acid Tech Services                                            -
     B&L Pipeco Services, Inc.                                     -
     BADGER BMB SERVICES, INC                                   (4,107)
     BAKER BOTTS L.L.P.                                            -
     BAKER HUGHES                                                  -
     BASIN PACKER COMPANY, INC.                                13,610
     Basic Energy Services                                         -
     BASIN ENGINE & PUMP, INC.                                     -
     Big E Drilling Company                                        -
     Baseline Energy Services, LP                                  -
     BIG GAME OILFIELD SERVICES,LLC                                -
     Big H Transport, LLC                                          -
     BIG B CRANE, LLC                                              -
     Bison Trucking, LLC                                           -
     BLACKHAWK MEASUREMENT CONSULTING, LLC                         -
     BOOMERANG TRUCKING                                            -
     Bond-Coat, Inc.                                               -
     BOSQUE DISPOSAL SYSTEMS, LLC                                  -
     BEDROCK PETROLEUM CONSULTANTS,LLC                             -
     Briley Trucking, Ltd                                          -
     Browning Oil Company, Inc.                                    -
     Boots Smith Completion Services, LLC                          -
     BT MIDSTREAM,LLC                                              -
     BUTCH'S RAT HOLE & ANCHOR SERVICE, INC.                      110
     C&J Spec-Rent Services, Inc.                                  -
     CACTUS FUEL, LLC                                              -
     CANRIG DRILLING TECHNOLOGY LTD.                               -
     CATALYST OILFIELD SERVICES, LLC                               -

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     THE CAVINS CORPORATION                                   5,752
     CONQUEST COMPLETION SERVICES,LLC                           -
     Crescent Drilling Foreman                                  -
     CDK PERFORATRING,LLC                                       -
     Centennial Resource Production, LLC                        -
     CHERRY HOTSHOT AND TRANSPORT,LLC                           -
     CHIEF SERVICES                                          15,566
     Chase Harris, Inc.                                         -
     CHOCK'S INC                                                -
     Cameron International Corporation                          -
     Clearwater Resources, LLC                                  -
     CLEAN CHEMISTRY,INC.                                       -
     CMS Trucking, LLC                                          -
     Colgate Operate, LLC                                       -
     Kristen Cooper                                             -
     CapRock Oil Tools, Inc.                                    -
     Virginia R. Cover                                          -
     Creek Pipe Company                                         -
     Cretic Energy Services, LLC                                -
     David Crow                                                 -
     CSI COMPRESSCO OPERATING, INC                              -
     Canon Safety Services, Ltd.                                -
     CTAP, LLC                                                  -
     Covenant Testing Technologies, LLC                         -
     Cudd Pressure Control, Inc.                                -
     CUTTER DRILLING SYSTEMS                                    -
     Apergy ESP Systems, LLC                                    -
     DCC SERVICES, LLC                                       55,453
     EmployBridge Holding Company                               -
     DEL'S INSPECTION SERVICE COMPANY, LLC                      -
     DICK GLOVER COMPANY, INC                                   -
     Datalog Geological Services, LLC                           -
     DiverterPlus, LLC                                          -
     DILL LAND & CATTLE, LLC                                (63,440)
     Diamond M Trucking                                         -
     DOC'S REVERSE UNITS & RENTAL TOOLS, INC.                   -
     Downhole Technology, LLC                                   -
     DRILLINGPRO                                                -
     Drilformance, LLC                                          -
     DRILLCHEM DRILLING SOLUTIONS,LLC                           -
     DuraChem Production Services, LLC                          -
     Desert Wolfpack Mobile, Inc.                               -
     Dialog Wireline Services, LLC                              -

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     ELLISON FLUID CALIPERS, LLC                              3,234
     Enventure Global Technology, Inc.                          -
     WaterBridge Texas Operating, LLC                           -
     EVANS PETROLEUM CONSULTANTS and SERVICES                   -
     EVO Incorporated                                           -
     ERVIN WELL SITE CONSULTANTS, LLC                           -
     Fluid Delivery Solutions, LLC                              -
     FESCO LTD                                                  -
     FLOWCO PRODUCTION SOLUTIONS, LLC                           -
     Firethorne Downhole                                        -
     FTS International Services, LLC                            -
     GE OIL & GAS ESP, INC.                                248,498
     GE Oil & Gas Pressure Control LP                           -
     GILMORE FABRICATION & SERVICE, LP                          -
     GM Oilfield & Trucking Services, LLC                       -
     GRISSOM'S OILFIELD SERVICE, LLC                            -
     Gravity Oilfield Services, LLC                             -
     GRAY SURFACE SPECIALTIES                                   -
     GR Energy Services                                         -
     GYRODATA INCORPORATED                                      -
     HADCO Services, Inc.                                       -
     HALLIBURTON ENERGY SERVICES, INC.                          -
     HydroTX Cleaning Services, LLC                           5,000
     Core & Main LP                                           6,040
     HUGHES OILFIELD TRANSPORTATION INC                         -
     HIGH PEAK RENTAL & CONSTRUCTION,LLC                        -
     Integrity Directional Services, LLC                        -
     Impac Exploration Services, Inc.                           -
     IRON HORSE TOOLS, LLC                                      -
     Security Business Capital, LLC                             -
     J6 ENERGY SERVICES                                    463,917
     JA Oilfield Manufacturing, Inc.                          4,331
     Jeben's Petroleum Engineering, LLC                         -
     Jody's Oilfield Service, Inc.                              -
     JW POWERLINE                                               -
     JW TRUCKING, LLC.                                          -
     Katch Kan USA                                              -
     KENNETH R POOLE INC                                     (9,368)
     Maggie Kay Key                                             -
     Legends Drilling Management                                -
     KLX ENERGY SERVICES, LLC                                   -
     Applied US Energy, Inc.                                 (2,342)
     Knight Oil Tools, LLC                                      -

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     KW INTERNATIONAL, LLC                                        -
     Legacy Artificial Lift Solutions, LLC                        -
     Legacy Directional Drilling, LLC                             -
     LEGEND ENERGY SERVICES, LLC                                  -
     L.F. Manufacturing, Inc.                                     -
     Lone Star Trucking                                          690
     Luxe Operating LLC                                           -
     Liberty Well Service,LLC                                     -
     M & W Hot Oil, Inc.                                          -
     Magnum Oil Tools International LTD                       10,998
     MARIO A. ORTEGA                                              -
     MCCLINTON ENERGY GROUP, LLC                                  -
     MCELROY, SULLIVAN, MILLER,                                   -
     Milestone Environmental Services, LLC                        -
     Moser Engine Service                                         -
     Meyer Energy Services, LLC                                   -
     Maverick Field Services                                      -
     Mica Tool & Tubular                                          -
     Monahans Nipple-Up Service                                   -
     MULHOLLAND ENERGY SERVICES, LLC                              -
     Mustang Well Service,LLC                                     -
     Nabors Drilling Technologies USA, Inc.                       -
     CREST PUMPING TECHNOLOGIES,LLC                               -
     NCS MULTISTAGE                                               -
     NES Global, LLC                                              -
     New Tech Global Ventures, LLC                                -
     Nexus II                                                     -
     NGL Water Solutions Permian, LLC                         42,797
     NOV DHT, L.P.                                            (45,712)
     National Oilwell Varco, L.P.                                 -
     National Tank & Equipment                                    -
     OILFIELD CHEMICAL SOLUTIONS,LLC                              -
     ODESSA PUMPS & EQUIPMENT, INC.                               -
     WELLS FARGO BANK,N.A.                                        -
     One Source Energy Services                                   -
     OLD SCHOOL SERVICES                                          -
     PETRO AMIGOS SUPPLY INC.                                     -
     PAJUAL ENTERPRISE,LLC                                        -
     Pason Systems USA Corp                                    5,501
     Patterson-UTI Drilling Company, LLC                          -
     Patterson Services, Inc                                      -
     Paladin Completion Services                                  -
     Pradon Construction & Trucking                            1,600

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     Precision Drilling Company, LP                             -
     Taurex Drill Bits, LLC                                     -
     Pecos Enterprise                                           -
     Basin Supply, LP                                           -
     Permian Equipment Rentals                             300,516
     PETROPLEX SWD, LLC                                         -
     Polyflow, LLC                                          (13,955)
     Peak Oilfield Services, LLC                                -
     Powersat Communications USA LP                             -
     Platinum Pipe Rentals, LLC                                 -
     Permian Power Tong, LLC                                    -
     Premium Clean                                              -
     Predator Drilling, LLC                                     -
     Prime Time Water Supply, LLC                               -
     Professional Directional Enterprises                       -
     PROPETRO SERVICES, INC.                                    -
     PRO SELECT SWD 4 LLC                                       -
     Pate Trucking Company, LLC                                 -
     Patriot Premium Threading Services,LLC                     -
     Petro Waste Environmental, LP                              415
     QES Pressure Control, LLC                              (22,742)
     QWIKPIPE INC.                                              -
     R 360 ENVIRONMENTAL SOLUTIONS, LLC                         848
     RAMOS TUBING TESTING, INCORPORATED                         -
     Ranger Energy Services, LLC                                -
     Red Bone Services, LLC                                     -
     Reeves County Resources, LLC                               -
     RDL Transportation Inc                                     -
     Reservoir Data Systems                                     -
     RDUB TRUCKING                                         282,696
     RedRiver Oilfield Services, LLC                            -
     REDHEAD SERVICES, LLC                                      -
     THE REED HUMPHREYS LIMITED PARTNERSHIP                     -
     REPEAT PRECISION, LLC                                      -
     REPUBLIC SERVICES INC.                                     210
     Reveal Energy Services, Inc.                               -
     ROUGH GROUND SERVICES                                   32,029
     Rhino Rentals Inc                                       13,268
     RIGHT LIGHT SERVICES, LLC                                  -
     RJG ENTERPRISES, LLC                                     5,480
     Rolfson Oil, LLC                                       (17,196)
     ROOK CONTRACTORS CORPORATION                               -
     River Rock Energy, Inc.                                    -

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     Rock Tool Company                                       83,409
     RUSCO Operating, LLC                                        -
     RUSSAW TRANSPORT, LLC                                       -
     RWDY, Inc.                                                  -
     RWLS LLC                                                (13,857)
     Sage Rider                                                  -
     SANBAR ENERGY SERVICES,LLC                                  -
     SAPPHIRE OILFIELD SERVICES, LLC                            750
     SCAN-X, LLC                                              2,105
     SCHLUMBERGER TECHNOLOGY CORP.                               -
     Schlumberger Rod Lift, Inc.                             11,042
     Synergy Cleaning Solutions, LLC                             -
     Stellar Drilling Fluids, LLC                                -
     SELECT ENERGY SERVICES,LLC                                  -
     STEP Energy Services (USA) Ltd.                             -
     Seyfarth Shaw, LLP                                          -
     Sidewinder Drilling LLC                                     -
     SIERRA HAMILTON                                             -
     Silver Zone, Inc.                                           -
     SitePro Automation Software Solutions                       -
     Solid Liberty RENTAL Services, LLC                          -
     Solid LIberty Services, LLC                              (2,120)
     SLYDER ENERGY SOLUTIONS,LLC                                 -
     SMITH INTERNATIONAL, INC.                               (69,960)
     Snyper Energy Services, Inc.                                -
     Sonic Connectors LTD                                        -
     STRIDE OILFIELD SERVICES,LLC                                -
     SOUTHERN CONNECTIONS & SERVICES INC.                        -
     Spraberry Production Services                           56,305
     Supreme Production Services, Inc.                           -
     STELLAR AUTOMATION, INC.                                    -
     STEALTH OILWELL SERVICES                                    -
     Stealth Pump & Supply, LLC                                  -
     STONE OILFIELD SERVICES, INC.                            (3,829)
     STONE RENTALS II                                            -
     Standard Tubular Services, Inc.                             -
     Summit Casing Services, LLC                                 -
     Sun Drilling Products, Corp                                 -
     SHAW INTERESTS, INC.                                        -
     SWECO                                                   36,749
     SwiftWater - A Tetra Company                                -
     SYNERGY RENTALS, LLC                                        -
     TankLogix, LLC                                          18,612

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     TANMAR RENTALS LLC                                             -
     Transontinental Group                                          -
     TCI - Casing Specialties, LLC                                  -
     Innovex Downhole Solutions, Inc.                               -
     TECH MANAGEMENT, LLC                                           -
     Tejas Hot Shot Service                                     23,474
     TENARIS GLOBAL SERVICES USA CORPORATION                     (7,880)
     Texas Energy Lobby, LLC                                        -
     Texas Fueling Services, Inc.                                   -
     Targeted GeoVision, LLC                                        -
     THI Water Well                                             41,609
     TITAN PETROSERVICES, LLC                                       -
     TIDAL LOGISTICS,INC.                                           -
     Tier One Energy, LLP                                           -
     TOPOGRAPHIC LAND SURVEYORS                                     -
     Tristate Oilfield Services, LLC                                -
     Total Energy Solutions, LLC                                    -
     Tank Partners Permian, LLC                                     -
     TORNADO PRODUCTION SERVICES,LLC                                -
     Tripleplay Transport, LLC                                      -
     TOTAL ROD CONCEPTS, INC.                                       -
     TRC SERVICES OF TEXAS, INC.                                    -
     TRIDENT STEEL CORPORATION                                      -
     Trio Equip. Rental & Services                                  -
     Trojan Tubular Services, LLC                                   -
     TRI R SERVICES,INC                                             -
     Turn Right Tools, LLC                                          -
     Tubular Solutions, Inc.                                    18,700
     Trans-Tex Cementing Services, LLC                        2,397,961
     Trans-Tex Dyno Services, LLC                               34,961
     Tryton Tools USA, Inc.                                         -
     TUCKER ENERGY SERVICES, INC                                    -
     T YORKMAN TRUCKING, LLC                                        -
     Ultra Blend Solutions Oilfield Services                        -
     ULTERRA DRILLING TECHNOLOGIES, L.P.                        41,980
     UltraFab                                                   24,624
     UMD SOLUTIONS,LLC                                              -
     UNITED CASING INCORPORATED                                     -
     United String Up Company, LLC                               1,500
     United Vision Logistics                                        -
     VES Survey International                                   43,580
     Vaughn Energy Services, Inc.                                   -
     WADECO SPECIALTIES, LLC                                     (9,102)

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     Water Works Field Services, LLC                            287
     WEAVER AND TIDWELL, LLP                                    -
     WELLTEC, INC.                                              -
     WELLEZ INFORMATION MANAGEMENT, LLC                         -
     WESTERN PETROLEUM, LLC                                     -
     WESTERN FALCON                                             -
     WEX BANK                                                   -
     Wellbore Fishing & Rental Tools, LLC                    99,182
     WESTERNGECO,LLC                                            -
     Wildcat Oil Tools, LLC                                     -
     Gulf Coast Business Credit                                 -
     WTG Fuels, Inc.                                            -
     WILBANKS TRUCKING SERVICES, LLC                        737,296
     YELLOWJACKET Oilfield Services                          20,520
     Youngs Mobile Homes                                        -
     ZPZ Delaware I, LLC                                        -
     Miscellaneous Vendor                                       -
     ADMARC                                                     -
     Jensen Kohl Angelloz                                       -
     Big D Equipment Company                                    -
     Bank of Montreal                                           -
     Britt Trucking Company                                     -
     CAPITAL PREMIUM FINANCING                                  -
     Elisa Castillo                                             -
     David Cox                                                 (120)
     CULLIGAN WATER OF WEST TEXAS, INC.                         -
     Diversified Detection Services, Inc.                       -
     Document Shredding and Storage                             -
     EXTERNAL SYSTEMS                                           -
     IHS GLOBAL INC.                                            -
     J & M ENERGY SERVICES, LP                                  -
     KE Andrews & Company                                       -
     McCauley Family Trust                                      -
     MIDAMERICAN ENERGY COMPANY                                 (15)
     Mi SWACO                                                   -
     Natixis New York                                           -
     NextEra Energy Marketing, LLC                                  (3)
     OFFICE DEPOT                                               -
     PURCHASE POWER                                             -
     QUEST ELECTRICAL & MECHANICAL CORPORATIO                   -
     RELIANT                                                    -
     REYNOLD'S BROTHERS REPRODUCTION LTD.                       -
     Robert Half Finance & Accounting                        39,200

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     SALAZAR SERVICE & TRUCKING, CORP.                          -
     CALLIE STEVENS                                             -
     TRAVELERS CL REMITTANCE CENTER                             -
     West Texas Office Equipment                                -
     WolfePak Software                                          -
     AAA                                                        -
     B&T Rentals                                                -
     Pumpco Energy Services, Inc.                               -
     Tetra Technologies                                         -
     TurboDrill / Scout Downhole                                -
     Black Gold Rental Tools, Inc.                              -
                                                       $ 4,868,117




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                                                       3/18/2019
                      Vendor Name                     Over 90 Days
    3H TRUCKING, LLC                                  $        -
    5J Oilfield Services, LLC                                  -
    ALPHA & OMEGA                                              -
    A-1 SIGN ENGRAVERS, INC.                                  (182)
    ANCHOR DRILLING FLUIDS USA LLC                             -
    AFD Quality Fuels & Petroleum                          (98,357)
    Alamo Pressure Pumping LLC                                 -
    Ally Consulting, LLC                                       -
    ALNC Inc.                                                  -
    APOLLO LIGHTING SOLUTIONS INC.                             -
    AQUARIUS CHEMICAL,LLC                                      -
    ARCHROCK SERVICES, L.P.                                    -
    ALAN R TRUCKING                                            -
    Acid Tech Services                                         -
    B&L Pipeco Services, Inc.                                  -
    BADGER BMB SERVICES, INC                                (4,107)
    BAKER BOTTS L.L.P.                                         -
    BAKER HUGHES                                               -
    BASIN PACKER COMPANY, INC.                              17,125
    Basic Energy Services                                      -
    BASIN ENGINE & PUMP, INC.                                  -
    Big E Drilling Company                                     -
    Baseline Energy Services, LP                               -
    BIG GAME OILFIELD SERVICES,LLC                             -
    Big H Transport, LLC                                       -
    BIG B CRANE, LLC                                           -
    Bison Trucking, LLC                                        -
    BLACKHAWK MEASUREMENT CONSULTING, LLC                      -
    BOOMERANG TRUCKING                                         -
    Bond-Coat, Inc.                                            -
    BOSQUE DISPOSAL SYSTEMS, LLC                               -
    BEDROCK PETROLEUM CONSULTANTS,LLC                          -
    Briley Trucking, Ltd                                       -
    Browning Oil Company, Inc.                                 -
    Boots Smith Completion Services, LLC                       -
    BT MIDSTREAM,LLC                                           -
    BUTCH'S RAT HOLE & ANCHOR SERVICE, INC.                    110
    C&J Spec-Rent Services, Inc.                               -
    CACTUS FUEL, LLC                                           -
    CANRIG DRILLING TECHNOLOGY LTD.                            -
    CATALYST OILFIELD SERVICES, LLC                            -
    THE CAVINS CORPORATION                                   9,035
    CONQUEST COMPLETION SERVICES,LLC                           -
    Crescent Drilling Foreman                                  -
    CDK PERFORATRING,LLC                                       -
    Centennial Resource Production, LLC                        -
    CHERRY HOTSHOT AND TRANSPORT,LLC                           -
    CHIEF SERVICES                                          15,566
    Chase Harris, Inc.                                         -
    CHOCK'S INC                                                -
    Cameron International Corporation                          -

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    Clearwater Resources, LLC                                   -
    CLEAN CHEMISTRY,INC.                                        -
    CMS Trucking, LLC                                           -
    Colgate Operate, LLC                                        -
    Kristen Cooper                                              -
    CapRock Oil Tools, Inc.                                     -
    Virginia R. Cover                                           -
    Creek Pipe Company                                          -
    Cretic Energy Services, LLC                                 -
    David Crow                                                  -
    CSI COMPRESSCO OPERATING, INC                               -
    Canon Safety Services, Ltd.                                 -
    CTAP, LLC                                                   -
    Covenant Testing Technologies, LLC                          -
    Cudd Pressure Control, Inc.                                 -
    CUTTER DRILLING SYSTEMS                                     -
    Apergy ESP Systems, LLC                                     -
    DCC SERVICES, LLC                                        69,476
    EmployBridge Holding Company                             39,291
    DEL'S INSPECTION SERVICE COMPANY, LLC                       -
    DICK GLOVER COMPANY, INC                                    -
    Datalog Geological Services, LLC                            -
    DiverterPlus, LLC                                           -
    DILL LAND & CATTLE, LLC                                 (63,440)
    Diamond M Trucking                                          -
    DOC'S REVERSE UNITS & RENTAL TOOLS, INC.                    -
    Downhole Technology, LLC                                    -
    DRILLINGPRO                                                 -
    Drilformance, LLC                                           -
    DRILLCHEM DRILLING SOLUTIONS,LLC                            -
    DuraChem Production Services, LLC                           -
    Desert Wolfpack Mobile, Inc.                                -
    Dialog Wireline Services, LLC                               -
    ELLISON FLUID CALIPERS, LLC                               3,234
    Enventure Global Technology, Inc.                        11,957
    WaterBridge Texas Operating, LLC                            -
    EVANS PETROLEUM CONSULTANTS and SERVICES                    -
    EVO Incorporated                                         43,254
    ERVIN WELL SITE CONSULTANTS, LLC                            -
    Fluid Delivery Solutions, LLC                               -
    FESCO LTD                                                   -
    FLOWCO PRODUCTION SOLUTIONS, LLC                            -
    Firethorne Downhole                                         -
    FTS International Services, LLC                             -
    GE OIL & GAS ESP, INC.                                  248,498
    GE Oil & Gas Pressure Control LP                            -
    GILMORE FABRICATION & SERVICE, LP                           -
    GM Oilfield & Trucking Services, LLC                        -
    GRISSOM'S OILFIELD SERVICE, LLC                             -
    Gravity Oilfield Services, LLC                              -
    GRAY SURFACE SPECIALTIES                                    -
    GR Energy Services                                          -
    GYRODATA INCORPORATED                                    19,632

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    HADCO Services, Inc.                                        -
    HALLIBURTON ENERGY SERVICES, INC.                           -
    HydroTX Cleaning Services, LLC                            5,000
    Core & Main LP                                            6,040
    HUGHES OILFIELD TRANSPORTATION INC                          -
    HIGH PEAK RENTAL & CONSTRUCTION,LLC                         -
    Integrity Directional Services, LLC                         -
    Impac Exploration Services, Inc.                            -
    IRON HORSE TOOLS, LLC                                       -
    Security Business Capital, LLC                              -
    J6 ENERGY SERVICES                                      830,366
    JA Oilfield Manufacturing, Inc.                           4,331
    Jeben's Petroleum Engineering, LLC                       12,640
    Jody's Oilfield Service, Inc.                         1,056,432
    JW POWERLINE                                                -
    JW TRUCKING, LLC.                                           -
    Katch Kan USA                                               -
    KENNETH R POOLE INC                                      (9,368)
    Maggie Kay Key                                              -
    Legends Drilling Management                                 -
    KLX ENERGY SERVICES, LLC                                    -
    Applied US Energy, Inc.                                  (2,342)
    Knight Oil Tools, LLC                                       -
    KW INTERNATIONAL, LLC                                       -
    Legacy Artificial Lift Solutions, LLC                       -
    Legacy Directional Drilling, LLC                            -
    LEGEND ENERGY SERVICES, LLC                                 -
    L.F. Manufacturing, Inc.                                    -
    Lone Star Trucking                                          690
    Luxe Operating LLC                                          -
    Liberty Well Service,LLC                                    -
    M & W Hot Oil, Inc.                                         -
    Magnum Oil Tools International LTD                       10,998
    MARIO A. ORTEGA                                             -
    MCCLINTON ENERGY GROUP, LLC                              20,487
    MCELROY, SULLIVAN, MILLER,                                  -
    Milestone Environmental Services, LLC                       -
    Moser Engine Service                                        -
    Meyer Energy Services, LLC                                  -
    Maverick Field Services                                     -
    Mica Tool & Tubular                                         -
    Monahans Nipple-Up Service                                  -
    MULHOLLAND ENERGY SERVICES, LLC                             -
    Mustang Well Service,LLC                                    -
    Nabors Drilling Technologies USA, Inc.                      -
    CREST PUMPING TECHNOLOGIES,LLC                              -
    NCS MULTISTAGE                                              -
    NES Global, LLC                                             -
    New Tech Global Ventures, LLC                               -
    Nexus II                                                    -
    NGL Water Solutions Permian, LLC                         44,423
    NOV DHT, L.P.                                           (45,712)
    National Oilwell Varco, L.P.                                -

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    National Tank & Equipment                                   -
    OILFIELD CHEMICAL SOLUTIONS,LLC                             -
    ODESSA PUMPS & EQUIPMENT, INC.                              -
    WELLS FARGO BANK,N.A.                                       -
    One Source Energy Services                                  -
    OLD SCHOOL SERVICES                                         -
    PETRO AMIGOS SUPPLY INC.                                    -
    PAJUAL ENTERPRISE,LLC                                       -
    Pason Systems USA Corp                                    5,501
    Patterson-UTI Drilling Company, LLC                         -
    Patterson Services, Inc                                     -
    Paladin Completion Services                                 -
    Pradon Construction & Trucking                           12,195
    Precision Drilling Company, LP                              -
    Taurex Drill Bits, LLC                                      -
    Pecos Enterprise                                            -
    Basin Supply, LP                                            -
    Permian Equipment Rentals                               361,159
    PETROPLEX SWD, LLC                                          -
    Polyflow, LLC                                           (13,955)
    Peak Oilfield Services, LLC                                 -
    Powersat Communications USA LP                              -
    Platinum Pipe Rentals, LLC                                  -
    Permian Power Tong, LLC                                     -
    Premium Clean                                               -
    Predator Drilling, LLC                                      -
    Prime Time Water Supply, LLC                                -
    Professional Directional Enterprises                        -
    PROPETRO SERVICES, INC.                                     -
    PRO SELECT SWD 4 LLC                                        -
    Pate Trucking Company, LLC                                  -
    Patriot Premium Threading Services,LLC                      -
    Petro Waste Environmental, LP                             1,115
    QES Pressure Control, LLC                               (22,742)
    QWIKPIPE INC.                                               -
    R 360 ENVIRONMENTAL SOLUTIONS, LLC                          848
    RAMOS TUBING TESTING, INCORPORATED                          -
    Ranger Energy Services, LLC                                 -
    Red Bone Services, LLC                                      -
    Reeves County Resources, LLC                                -
    RDL Transportation Inc                                      -
    Reservoir Data Systems                                      -
    RDUB TRUCKING                                           282,696
    RedRiver Oilfield Services, LLC                             -
    REDHEAD SERVICES, LLC                                       -
    THE REED HUMPHREYS LIMITED PARTNERSHIP                      -
    REPEAT PRECISION, LLC                                       -
    REPUBLIC SERVICES INC.                                    1,020
    Reveal Energy Services, Inc.                                -
    ROUGH GROUND SERVICES                                    32,029
    Rhino Rentals Inc                                        13,268
    RIGHT LIGHT SERVICES, LLC                                   -
    RJG ENTERPRISES, LLC                                      5,480

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    Rolfson Oil, LLC                                        (17,196)
    ROOK CONTRACTORS CORPORATION                                -
    River Rock Energy, Inc.                                     -
    Rock Tool Company                                       105,426
    RUSCO Operating, LLC                                        -
    RUSSAW TRANSPORT, LLC                                       -
    RWDY, Inc.                                                  -
    RWLS LLC                                                (13,857)
    Sage Rider                                                  -
    SANBAR ENERGY SERVICES,LLC                                  -
    SAPPHIRE OILFIELD SERVICES, LLC                             750
    SCAN-X, LLC                                               2,105
    SCHLUMBERGER TECHNOLOGY CORP.                               -
    Schlumberger Rod Lift, Inc.                              11,042
    Synergy Cleaning Solutions, LLC                             -
    Stellar Drilling Fluids, LLC                                -
    SELECT ENERGY SERVICES,LLC                                  -
    STEP Energy Services (USA) Ltd.                             -
    Seyfarth Shaw, LLP                                          -
    Sidewinder Drilling LLC                                     -
    SIERRA HAMILTON                                             -
    Silver Zone, Inc.                                           -
    SitePro Automation Software Solutions                       -
    Solid Liberty RENTAL Services, LLC                          -
    Solid LIberty Services, LLC                              (2,120)
    SLYDER ENERGY SOLUTIONS,LLC                                 -
    SMITH INTERNATIONAL, INC.                               (69,960)
    Snyper Energy Services, Inc.                                -
    Sonic Connectors LTD                                        -
    STRIDE OILFIELD SERVICES,LLC                                -
    SOUTHERN CONNECTIONS & SERVICES INC.                        -
    Spraberry Production Services                            56,305
    Supreme Production Services, Inc.                           -
    STELLAR AUTOMATION, INC.                                    -
    STEALTH OILWELL SERVICES                                    -
    Stealth Pump & Supply, LLC                                  -
    STONE OILFIELD SERVICES, INC.                            (3,829)
    STONE RENTALS II                                            -
    Standard Tubular Services, Inc.                             -
    Summit Casing Services, LLC                                 -
    Sun Drilling Products, Corp                                 -
    SHAW INTERESTS, INC.                                        -
    SWECO                                                    36,749
    SwiftWater - A Tetra Company                                -
    SYNERGY RENTALS, LLC                                        -
    TankLogix, LLC                                           20,247
    TANMAR RENTALS LLC                                          -
    Transontinental Group                                       -
    TCI - Casing Specialties, LLC                               -
    Innovex Downhole Solutions, Inc.                          6,928
    TECH MANAGEMENT, LLC                                        -
    Tejas Hot Shot Service                                   25,717
    TENARIS GLOBAL SERVICES USA CORPORATION                  (7,880)

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    Texas Energy Lobby, LLC                                     -
    Texas Fueling Services, Inc.                                -
    Targeted GeoVision, LLC                                     -
    THI Water Well                                           67,196
    TITAN PETROSERVICES, LLC                                    -
    TIDAL LOGISTICS,INC.                                        -
    Tier One Energy, LLP                                        -
    TOPOGRAPHIC LAND SURVEYORS                                  -
    Tristate Oilfield Services, LLC                         219,000
    Total Energy Solutions, LLC                                 -
    Tank Partners Permian, LLC                                  -
    TORNADO PRODUCTION SERVICES,LLC                             -
    Tripleplay Transport, LLC                                   -
    TOTAL ROD CONCEPTS, INC.                                    -
    TRC SERVICES OF TEXAS, INC.                                 -
    TRIDENT STEEL CORPORATION                                   -
    Trio Equip. Rental & Services                               -
    Trojan Tubular Services, LLC                                -
    TRI R SERVICES,INC                                          -
    Turn Right Tools, LLC                                       -
    Tubular Solutions, Inc.                                  56,490
    Trans-Tex Cementing Services, LLC                     2,950,355
    Trans-Tex Dyno Services, LLC                             34,961
    Tryton Tools USA, Inc.                                      -
    TUCKER ENERGY SERVICES, INC                                 -
    T YORKMAN TRUCKING, LLC                                     -
    Ultra Blend Solutions Oilfield Services                     -
    ULTERRA DRILLING TECHNOLOGIES, L.P.                      41,980
    UltraFab                                                 36,936
    UMD SOLUTIONS,LLC                                           -
    UNITED CASING INCORPORATED                                  -
    United String Up Company, LLC                             1,500
    United Vision Logistics                                     -
    VES Survey International                                 47,652
    Vaughn Energy Services, Inc.                                -
    WADECO SPECIALTIES, LLC                                  (9,102)
    Water Works Field Services, LLC                             287
    WEAVER AND TIDWELL, LLP                                     -
    WELLTEC, INC.                                               -
    WELLEZ INFORMATION MANAGEMENT, LLC                          -
    WESTERN PETROLEUM, LLC                                      -
    WESTERN FALCON                                              -
    WEX BANK                                                    -
    Wellbore Fishing & Rental Tools, LLC                    129,088
    WESTERNGECO,LLC                                             -
    Wildcat Oil Tools, LLC                                      -
    Gulf Coast Business Credit                                  -
    WTG Fuels, Inc.                                             -
    WILBANKS TRUCKING SERVICES, LLC                         737,296
    YELLOWJACKET Oilfield Services                           20,520
    Youngs Mobile Homes                                         -
    ZPZ Delaware I, LLC                                         -
    Miscellaneous Vendor                                        -

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    ADMARC                                                         -
    Jensen Kohl Angelloz                                           -
    Big D Equipment Company                                        -
    Bank of Montreal                                               -
    Britt Trucking Company                                         -
    CAPITAL PREMIUM FINANCING                                      -
    Elisa Castillo                                                 -
    David Cox                                                     (120)
    CULLIGAN WATER OF WEST TEXAS, INC.                             -
    Diversified Detection Services, Inc.                           -
    Document Shredding and Storage                                 -
    EXTERNAL SYSTEMS                                               -
    IHS GLOBAL INC.                                                -
    J & M ENERGY SERVICES, LP                                      -
    KE Andrews & Company                                           -
    McCauley Family Trust                                          -
    MIDAMERICAN ENERGY COMPANY                                     (15)
    Mi SWACO                                                       -
    Natixis New York                                               -
    NextEra Energy Marketing, LLC                                    (3)
    OFFICE DEPOT                                                   -
    PURCHASE POWER                                                 -
    QUEST ELECTRICAL & MECHANICAL CORPORATIO                       388
    RELIANT                                                        -
    REYNOLD'S BROTHERS REPRODUCTION LTD.                           -
    Robert Half Finance & Accounting                            39,200
    SALAZAR SERVICE & TRUCKING, CORP.                              -
    CALLIE STEVENS                                                 -
    TRAVELERS CL REMITTANCE CENTER                                 -
    West Texas Office Equipment                                    -
    WolfePak Software                                              -
    AAA                                                            -
    B&T Rentals                                                    -
    Pumpco Energy Services, Inc.                                   -
    Tetra Technologies                                             -
    TurboDrill / Scout Downhole                                    -
    Black Gold Rental Tools, Inc.                                  -
                                                          $ 7,447,727




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                                                        4/1/2019
                         Vendor Name                  Over 90 Days
     3H TRUCKING, LLC                                 $        -
     5J Oilfield Services, LLC                                 -
     ALPHA & OMEGA                                             -
     A-1 SIGN ENGRAVERS, INC.                                 (182)
     ANCHOR DRILLING FLUIDS USA LLC                            -
     AFD Quality Fuels & Petroleum                         (98,357)
     Alamo Pressure Pumping LLC                                -
     Ally Consulting, LLC                                      -
     ALNC Inc.                                                 -
     APOLLO LIGHTING SOLUTIONS INC.                            -
     AQUARIUS CHEMICAL,LLC                                     -
     ARCHROCK SERVICES, L.P.                                   -
     ALAN R TRUCKING                                           -
     Acid Tech Services                                        -
     B&L Pipeco Services, Inc.                                 -
     BADGER BMB SERVICES, INC                               (4,107)
     BAKER BOTTS L.L.P.                                        -
     BAKER HUGHES                                              -
     BASIN PACKER COMPANY, INC.                             17,125
     Basic Energy Services                                     -
     BASIN ENGINE & PUMP, INC.                                 -
     Big E Drilling Company                                    -
     Baseline Energy Services, LP                              -
     BIG GAME OILFIELD SERVICES,LLC                            -
     Big H Transport, LLC                                      -
     BIG B CRANE, LLC                                          -
     Bison Trucking, LLC                                       -
     BLACKHAWK MEASUREMENT CONSULTING, LLC                     -
     BOOMERANG TRUCKING                                        -
     Bond-Coat, Inc.                                           -
     BOSQUE DISPOSAL SYSTEMS, LLC                              -
     BEDROCK PETROLEUM CONSULTANTS,LLC                         -
     Briley Trucking, Ltd                                      -
     Browning Oil Company, Inc.                                -
     Boots Smith Completion Services, LLC                      100
     BT MIDSTREAM,LLC                                          -
     BUTCH'S RAT HOLE & ANCHOR SERVICE, INC.                   110
     C&J Spec-Rent Services, Inc.                              -
     CACTUS FUEL, LLC                                          -
     CANRIG DRILLING TECHNOLOGY LTD.                           -
     CATALYST OILFIELD SERVICES, LLC                           -
     THE CAVINS CORPORATION                                 18,070
     CONQUEST COMPLETION SERVICES,LLC                          -
     Crescent Drilling Foreman                                 -
     CDK PERFORATRING,LLC                                      -
     Centennial Resource Production, LLC                       -
     CHERRY HOTSHOT AND TRANSPORT,LLC                          -
     CHIEF SERVICES                                         15,566
     Chase Harris, Inc.                                        -
     CHOCK'S INC                                               -
     Cameron International Corporation                         -

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     Clearwater Resources, LLC                                 -
     CLEAN CHEMISTRY,INC.                                      -
     CMS Trucking, LLC                                         -
     Colgate Operate, LLC                                      -
     Kristen Cooper                                            -
     CapRock Oil Tools, Inc.                                   -
     Virginia R. Cover                                       9,170
     Creek Pipe Company                                        -
     Cretic Energy Services, LLC                               -
     David Crow                                                -
     CSI COMPRESSCO OPERATING, INC                             -
     Canon Safety Services, Ltd.                               -
     CTAP, LLC                                                 -
     Covenant Testing Technologies, LLC                        -
     Cudd Pressure Control, Inc.                               -
     CUTTER DRILLING SYSTEMS                                   -
     Apergy ESP Systems, LLC                                   -
     DCC SERVICES, LLC                                      77,198
     EmployBridge Holding Company                           67,716
     DEL'S INSPECTION SERVICE COMPANY, LLC                     -
     DICK GLOVER COMPANY, INC                                  -
     Datalog Geological Services, LLC                          -
     DiverterPlus, LLC                                         -
     DILL LAND & CATTLE, LLC                               (63,440)
     Diamond M Trucking                                        -
     DOC'S REVERSE UNITS & RENTAL TOOLS, INC.                  -
     Downhole Technology, LLC                                  -
     DRILLINGPRO                                               -
     Drilformance, LLC                                         -
     DRILLCHEM DRILLING SOLUTIONS,LLC                          -
     DuraChem Production Services, LLC                         -
     Desert Wolfpack Mobile, Inc.                            3,690
     Dialog Wireline Services, LLC                             -
     ELLISON FLUID CALIPERS, LLC                             3,234
     Enventure Global Technology, Inc.                      11,957
     WaterBridge Texas Operating, LLC                          -
     EVANS PETROLEUM CONSULTANTS and SERVICES                  -
     EVO Incorporated                                       43,254
     ERVIN WELL SITE CONSULTANTS, LLC                          -
     Fluid Delivery Solutions, LLC                             -
     FESCO LTD                                                 -
     FLOWCO PRODUCTION SOLUTIONS, LLC                          -
     Firethorne Downhole                                       -
     FTS International Services, LLC                           -
     GE OIL & GAS ESP, INC.                                248,498
     GE Oil & Gas Pressure Control LP                       66,266
     GILMORE FABRICATION & SERVICE, LP                         -
     GM Oilfield & Trucking Services, LLC                      -
     GRISSOM'S OILFIELD SERVICE, LLC                           -
     Gravity Oilfield Services, LLC                            -
     GRAY SURFACE SPECIALTIES                                  -
     GR Energy Services                                        -
     GYRODATA INCORPORATED                                  19,632

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     HADCO Services, Inc.                                       -
     HALLIBURTON ENERGY SERVICES, INC.                          -
     HydroTX Cleaning Services, LLC                           5,000
     Core & Main LP                                           6,040
     HUGHES OILFIELD TRANSPORTATION INC                         -
     HIGH PEAK RENTAL & CONSTRUCTION,LLC                        -
     Integrity Directional Services, LLC                        -
     Impac Exploration Services, Inc.                           -
     IRON HORSE TOOLS, LLC                                      -
     Security Business Capital, LLC                             -
     J6 ENERGY SERVICES                                     986,023
     JA Oilfield Manufacturing, Inc.                          4,331
     Jeben's Petroleum Engineering, LLC                      12,640
     Jody's Oilfield Service, Inc.                        1,056,432
     JW POWERLINE                                               -
     JW TRUCKING, LLC.                                          -
     Katch Kan USA                                              -
     KENNETH R POOLE INC                                     (9,368)
     Maggie Kay Key                                             -
     Legends Drilling Management                                -
     KLX ENERGY SERVICES, LLC                                   -
     Applied US Energy, Inc.                                 (2,342)
     Knight Oil Tools, LLC                                      -
     KW INTERNATIONAL, LLC                                      -
     Legacy Artificial Lift Solutions, LLC                      -
     Legacy Directional Drilling, LLC                           -
     LEGEND ENERGY SERVICES, LLC                                -
     L.F. Manufacturing, Inc.                                 7,370
     Lone Star Trucking                                         690
     Luxe Operating LLC                                         -
     Liberty Well Service,LLC                                   -
     M & W Hot Oil, Inc.                                        -
     Magnum Oil Tools International LTD                      10,998
     MARIO A. ORTEGA                                            -
     MCCLINTON ENERGY GROUP, LLC                             20,487
     MCELROY, SULLIVAN, MILLER,                                 -
     Milestone Environmental Services, LLC                      -
     Moser Engine Service                                       -
     Meyer Energy Services, LLC                                 -
     Maverick Field Services                                    -
     Mica Tool & Tubular                                        -
     Monahans Nipple-Up Service                                 -
     MULHOLLAND ENERGY SERVICES, LLC                            -
     Mustang Well Service,LLC                                   -
     Nabors Drilling Technologies USA, Inc.                     -
     CREST PUMPING TECHNOLOGIES,LLC                             -
     NCS MULTISTAGE                                             -
     NES Global, LLC                                            -
     New Tech Global Ventures, LLC                              -
     Nexus II                                                   -
     NGL Water Solutions Permian, LLC                        45,525
     NOV DHT, L.P.                                          (45,712)
     National Oilwell Varco, L.P.                            (2,943)

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   10/18/2019

     National Tank & Equipment                                 -
     OILFIELD CHEMICAL SOLUTIONS,LLC                           -
     ODESSA PUMPS & EQUIPMENT, INC.                            -
     WELLS FARGO BANK,N.A.                                     -
     One Source Energy Services                                -
     OLD SCHOOL SERVICES                                       -
     PETRO AMIGOS SUPPLY INC.                                  -
     PAJUAL ENTERPRISE,LLC                                     -
     Pason Systems USA Corp                                  5,501
     Patterson-UTI Drilling Company, LLC                       -
     Patterson Services, Inc                                 1,694
     Paladin Completion Services                               -
     Pradon Construction & Trucking                         12,195
     Precision Drilling Company, LP                            -
     Taurex Drill Bits, LLC                                    -
     Pecos Enterprise                                          -
     Basin Supply, LP                                          -
     Permian Equipment Rentals                             641,467
     PETROPLEX SWD, LLC                                        -
     Polyflow, LLC                                         (13,955)
     Peak Oilfield Services, LLC                               -
     Powersat Communications USA LP                            -
     Platinum Pipe Rentals, LLC                            172,363
     Permian Power Tong, LLC                                   -
     Premium Clean                                             -
     Predator Drilling, LLC                                    -
     Prime Time Water Supply, LLC                              -
     Professional Directional Enterprises                      -
     PROPETRO SERVICES, INC.                                   -
     PRO SELECT SWD 4 LLC                                      -
     Pate Trucking Company, LLC                                -
     Patriot Premium Threading Services,LLC                    -
     Petro Waste Environmental, LP                           1,115
     QES Pressure Control, LLC                             (22,742)
     QWIKPIPE INC.                                             -
     R 360 ENVIRONMENTAL SOLUTIONS, LLC                        848
     RAMOS TUBING TESTING, INCORPORATED                        -
     Ranger Energy Services, LLC                               -
     Red Bone Services, LLC                                    -
     Reeves County Resources, LLC                           14,310
     RDL Transportation Inc                                281,000
     Reservoir Data Systems                                    -
     RDUB TRUCKING                                         282,696
     RedRiver Oilfield Services, LLC                           -
     REDHEAD SERVICES, LLC                                     -
     THE REED HUMPHREYS LIMITED PARTNERSHIP                    -
     REPEAT PRECISION, LLC                                     -
     REPUBLIC SERVICES INC.                                  1,170
     Reveal Energy Services, Inc.                              -
     ROUGH GROUND SERVICES                                  32,029
     Rhino Rentals Inc                                     143,628
     RIGHT LIGHT SERVICES, LLC                                 -
     RJG ENTERPRISES, LLC                                    5,480

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   MDC Texas Energy
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     Rolfson Oil, LLC                                      (17,196)
     ROOK CONTRACTORS CORPORATION                              -
     River Rock Energy, Inc.                               147,290
     Rock Tool Company                                     117,589
     RUSCO Operating, LLC                                      -
     RUSSAW TRANSPORT, LLC                                     -
     RWDY, Inc.                                                -
     RWLS LLC                                              (13,857)
     Sage Rider                                                -
     SANBAR ENERGY SERVICES,LLC                                -
     SAPPHIRE OILFIELD SERVICES, LLC                         3,250
     SCAN-X, LLC                                             2,105
     SCHLUMBERGER TECHNOLOGY CORP.                             -
     Schlumberger Rod Lift, Inc.                            13,574
     Synergy Cleaning Solutions, LLC                           -
     Stellar Drilling Fluids, LLC                              -
     SELECT ENERGY SERVICES,LLC                                -
     STEP Energy Services (USA) Ltd.                           -
     Seyfarth Shaw, LLP                                        -
     Sidewinder Drilling LLC                                   -
     SIERRA HAMILTON                                           -
     Silver Zone, Inc.                                         -
     SitePro Automation Software Solutions                     -
     Solid Liberty RENTAL Services, LLC                        -
     Solid LIberty Services, LLC                            (2,120)
     SLYDER ENERGY SOLUTIONS,LLC                               -
     SMITH INTERNATIONAL, INC.                             (69,960)
     Snyper Energy Services, Inc.                              -
     Sonic Connectors LTD                                      -
     STRIDE OILFIELD SERVICES,LLC                              -
     SOUTHERN CONNECTIONS & SERVICES INC.                      -
     Spraberry Production Services                          56,305
     Supreme Production Services, Inc.                         -
     STELLAR AUTOMATION, INC.                                  -
     STEALTH OILWELL SERVICES                                  -
     Stealth Pump & Supply, LLC                                -
     STONE OILFIELD SERVICES, INC.                          (3,829)
     STONE RENTALS II                                          -
     Standard Tubular Services, Inc.                           -
     Summit Casing Services, LLC                               -
     Sun Drilling Products, Corp                               -
     SHAW INTERESTS, INC.                                      -
     SWECO                                                  36,749
     SwiftWater - A Tetra Company                              -
     SYNERGY RENTALS, LLC                                      -
     TankLogix, LLC                                         67,772
     TANMAR RENTALS LLC                                    300,001
     Transontinental Group                                     -
     TCI - Casing Specialties, LLC                          23,435
     Innovex Downhole Solutions, Inc.                        6,928
     TECH MANAGEMENT, LLC                                      -
     Tejas Hot Shot Service                                 27,496
     TENARIS GLOBAL SERVICES USA CORPORATION                (7,880)

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   MDC Texas Energy
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     Texas Energy Lobby, LLC                                    -
     Texas Fueling Services, Inc.                               -
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     THI Water Well                                          67,196
     TITAN PETROSERVICES, LLC                                   -
     TIDAL LOGISTICS,INC.                                       -
     Tier One Energy, LLP                                       -
     TOPOGRAPHIC LAND SURVEYORS                                 -
     Tristate Oilfield Services, LLC                        219,000
     Total Energy Solutions, LLC                                -
     Tank Partners Permian, LLC                                 -
     TORNADO PRODUCTION SERVICES,LLC                            -
     Tripleplay Transport, LLC                                  -
     TOTAL ROD CONCEPTS, INC.                                   -
     TRC SERVICES OF TEXAS, INC.                                -
     TRIDENT STEEL CORPORATION                                  -
     Trio Equip. Rental & Services                              -
     Trojan Tubular Services, LLC                               -
     TRI R SERVICES,INC                                         -
     Turn Right Tools, LLC                                      -
     Tubular Solutions, Inc.                                 72,240
     Trans-Tex Cementing Services, LLC                    2,950,355
     Trans-Tex Dyno Services, LLC                            34,961
     Tryton Tools USA, Inc.                                     -
     TUCKER ENERGY SERVICES, INC                                -
     T YORKMAN TRUCKING, LLC                                    -
     Ultra Blend Solutions Oilfield Services                    -
     ULTERRA DRILLING TECHNOLOGIES, L.P.                     41,980
     UltraFab                                                36,936
     UMD SOLUTIONS,LLC                                          -
     UNITED CASING INCORPORATED                                 -
     United String Up Company, LLC                            1,500
     United Vision Logistics                                    -
     VES Survey International                                47,652
     Vaughn Energy Services, Inc.                               -
     WADECO SPECIALTIES, LLC                                 (9,102)
     Water Works Field Services, LLC                            287
     WEAVER AND TIDWELL, LLP                                    -
     WELLTEC, INC.                                              -
     WELLEZ INFORMATION MANAGEMENT, LLC                         -
     WESTERN PETROLEUM, LLC                                     -
     WESTERN FALCON                                             -
     WEX BANK                                                   -
     Wellbore Fishing & Rental Tools, LLC                   129,088
     WESTERNGECO,LLC                                            -
     Wildcat Oil Tools, LLC                                     -
     Gulf Coast Business Credit                                 -
     WTG Fuels, Inc.                                            -
     WILBANKS TRUCKING SERVICES, LLC                        737,296
     YELLOWJACKET Oilfield Services                          23,760
     Youngs Mobile Homes                                        -
     ZPZ Delaware I, LLC                                        -
     Miscellaneous Vendor                                       -

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     ADMARC                                                     -
     Jensen Kohl Angelloz                                       -
     Big D Equipment Company                                    -
     Bank of Montreal                                           -
     Britt Trucking Company                                     -
     CAPITAL PREMIUM FINANCING                                  -
     Elisa Castillo                                             -
     David Cox                                                 (120)
     CULLIGAN WATER OF WEST TEXAS, INC.                         -
     Diversified Detection Services, Inc.                       -
     Document Shredding and Storage                             -
     EXTERNAL SYSTEMS                                           -
     IHS GLOBAL INC.                                            -
     J & M ENERGY SERVICES, LP                                  -
     KE Andrews & Company                                       -
     McCauley Family Trust                                      -
     MIDAMERICAN ENERGY COMPANY                                 (15)
     Mi SWACO                                                   -
     Natixis New York                                           -
     NextEra Energy Marketing, LLC                                (3)
     OFFICE DEPOT                                               -
     PURCHASE POWER                                             -
     QUEST ELECTRICAL & MECHANICAL CORPORATIO                   831
     RELIANT                                                    -
     REYNOLD'S BROTHERS REPRODUCTION LTD.                       -
     Robert Half Finance & Accounting                        39,200
     SALAZAR SERVICE & TRUCKING, CORP.                          -
     CALLIE STEVENS                                             -
     TRAVELERS CL REMITTANCE CENTER                             -
     West Texas Office Equipment                                -
     WolfePak Software                                          -
     AAA                                                        -
     B&T Rentals                                                -
     Pumpco Energy Services, Inc.                               -
     Tetra Technologies                                         -
     TurboDrill / Scout Downhole                                -
     Black Gold Rental Tools, Inc.                              -
                                                       $ 9,170,162




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                                                        4/18/2019
                        Vendor Name                   Over 90 Days
    3H TRUCKING, LLC                                  $         -
    5J Oilfield Services, LLC                                   -
    ALPHA & OMEGA                                               -
    A-1 SIGN ENGRAVERS, INC.                                  2,187
    ANCHOR DRILLING FLUIDS USA LLC                              -
    AFD Quality Fuels & Petroleum                           (98,357)
    Alamo Pressure Pumping LLC                                  -
    Ally Consulting, LLC                                        -
    ALNC Inc.                                                   -
    APOLLO LIGHTING SOLUTIONS INC.                              -
    AQUARIUS CHEMICAL,LLC                                       -
    ARCHROCK SERVICES, L.P.                                     -
    ALAN R TRUCKING                                             -
    Acid Tech Services                                          -
    B&L Pipeco Services, Inc.                                   -
    BADGER BMB SERVICES, INC                                 (4,107)
    BAKER BOTTS L.L.P.                                          -
    BAKER HUGHES                                                -
    BASIN PACKER COMPANY, INC.                               20,729
    Basic Energy Services                                       -
    BASIN ENGINE & PUMP, INC.                                   -
    Big E Drilling Company                                      -
    Baseline Energy Services, LP                                -
    BIG GAME OILFIELD SERVICES,LLC                              -
    Big H Transport, LLC                                        -
    BIG B CRANE, LLC                                            -
    Bison Trucking, LLC                                         -
    BLACKHAWK MEASUREMENT CONSULTING, LLC                       -
    BOOMERANG TRUCKING                                          -
    Bond-Coat, Inc.                                             -
    BOSQUE DISPOSAL SYSTEMS, LLC                                -
    BEDROCK PETROLEUM CONSULTANTS,LLC                           -
    Briley Trucking, Ltd                                        -
    Browning Oil Company, Inc.                                  -
    Boots Smith Completion Services, LLC                        100
    BT MIDSTREAM,LLC                                            -
    BUTCH'S RAT HOLE & ANCHOR SERVICE, INC.                     110
    C&J Spec-Rent Services, Inc.                            180,644
    CACTUS FUEL, LLC                                            -
    CANRIG DRILLING TECHNOLOGY LTD.                             -
    CATALYST OILFIELD SERVICES, LLC                             -
    THE CAVINS CORPORATION                                   18,070
    CONQUEST COMPLETION SERVICES,LLC                            -
    Crescent Drilling Foreman                                   -
    CDK PERFORATRING,LLC                                        -
    Centennial Resource Production, LLC                         -
    CHERRY HOTSHOT AND TRANSPORT,LLC                            -
    CHIEF SERVICES                                           15,566
    Chase Harris, Inc.                                          -
    CHOCK'S INC                                                 -
    Cameron International Corporation                           -

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    Clearwater Resources, LLC                                   -
    CLEAN CHEMISTRY,INC.                                        -
    CMS Trucking, LLC                                           -
    Colgate Operate, LLC                                        -
    Kristen Cooper                                              -
    CapRock Oil Tools, Inc.                                     -
    Virginia R. Cover                                         9,170
    Creek Pipe Company                                          -
    Cretic Energy Services, LLC                                 -
    David Crow                                                  -
    CSI COMPRESSCO OPERATING, INC                               -
    Canon Safety Services, Ltd.                                 -
    CTAP, LLC                                                   -
    Covenant Testing Technologies, LLC                          -
    Cudd Pressure Control, Inc.                                 -
    CUTTER DRILLING SYSTEMS                                     -
    Apergy ESP Systems, LLC                                     -
    DCC SERVICES, LLC                                        90,542
    EmployBridge Holding Company                            103,226
    DEL'S INSPECTION SERVICE COMPANY, LLC                       -
    DICK GLOVER COMPANY, INC                                    -
    Datalog Geological Services, LLC                            -
    DiverterPlus, LLC                                           -
    DILL LAND & CATTLE, LLC                                  15,420
    Diamond M Trucking                                          -
    DOC'S REVERSE UNITS & RENTAL TOOLS, INC.                    -
    Downhole Technology, LLC                                    -
    DRILLINGPRO                                                 -
    Drilformance, LLC                                           -
    DRILLCHEM DRILLING SOLUTIONS,LLC                            -
    DuraChem Production Services, LLC                       123,649
    Desert Wolfpack Mobile, Inc.                              3,690
    Dialog Wireline Services, LLC                               -
    ELLISON FLUID CALIPERS, LLC                               3,234
    Enventure Global Technology, Inc.                        11,957
    WaterBridge Texas Operating, LLC                            -
    EVANS PETROLEUM CONSULTANTS and SERVICES                  4,480
    EVO Incorporated                                         43,254
    ERVIN WELL SITE CONSULTANTS, LLC                            -
    Fluid Delivery Solutions, LLC                               -
    FESCO LTD                                                   -
    FLOWCO PRODUCTION SOLUTIONS, LLC                            -
    Firethorne Downhole                                         -
    FTS International Services, LLC                             -
    GE OIL & GAS ESP, INC.                                  248,498
    GE Oil & Gas Pressure Control LP                        167,175
    GILMORE FABRICATION & SERVICE, LP                           -
    GM Oilfield & Trucking Services, LLC                        -
    GRISSOM'S OILFIELD SERVICE, LLC                             -
    Gravity Oilfield Services, LLC                              -
    GRAY SURFACE SPECIALTIES                                    -
    GR Energy Services                                       26,846
    GYRODATA INCORPORATED                                    19,632

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    HADCO Services, Inc.                                        -
    HALLIBURTON ENERGY SERVICES, INC.                           -
    HydroTX Cleaning Services, LLC                            5,000
    Core & Main LP                                            6,040
    HUGHES OILFIELD TRANSPORTATION INC                          -
    HIGH PEAK RENTAL & CONSTRUCTION,LLC                         -
    Integrity Directional Services, LLC                         -
    Impac Exploration Services, Inc.                            -
    IRON HORSE TOOLS, LLC                                       -
    Security Business Capital, LLC                              -
    J6 ENERGY SERVICES                                    1,291,936
    JA Oilfield Manufacturing, Inc.                           4,331
    Jeben's Petroleum Engineering, LLC                       38,260
    Jody's Oilfield Service, Inc.                         1,056,432
    JW POWERLINE                                                -
    JW TRUCKING, LLC.                                           -
    Katch Kan USA                                               -
    KENNETH R POOLE INC                                      (9,368)
    Maggie Kay Key                                              -
    Legends Drilling Management                                 -
    KLX ENERGY SERVICES, LLC                                    -
    Applied US Energy, Inc.                                  (2,342)
    Knight Oil Tools, LLC                                       -
    KW INTERNATIONAL, LLC                                       -
    Legacy Artificial Lift Solutions, LLC                       -
    Legacy Directional Drilling, LLC                            -
    LEGEND ENERGY SERVICES, LLC                                 -
    L.F. Manufacturing, Inc.                                  7,370
    Lone Star Trucking                                          690
    Luxe Operating LLC                                          -
    Liberty Well Service,LLC                                    -
    M & W Hot Oil, Inc.                                         -
    Magnum Oil Tools International LTD                       10,998
    MARIO A. ORTEGA                                             -
    MCCLINTON ENERGY GROUP, LLC                              20,487
    MCELROY, SULLIVAN, MILLER,                                  -
    Milestone Environmental Services, LLC                       -
    Moser Engine Service                                        -
    Meyer Energy Services, LLC                               13,027
    Maverick Field Services                                     870
    Mica Tool & Tubular                                         -
    Monahans Nipple-Up Service                                  -
    MULHOLLAND ENERGY SERVICES, LLC                             -
    Mustang Well Service,LLC                                    -
    Nabors Drilling Technologies USA, Inc.                      -
    CREST PUMPING TECHNOLOGIES,LLC                              -
    NCS MULTISTAGE                                              -
    NES Global, LLC                                             -
    New Tech Global Ventures, LLC                               -
    Nexus II                                                    -
    NGL Water Solutions Permian, LLC                         45,525
    NOV DHT, L.P.                                           (45,712)
    National Oilwell Varco, L.P.                             (2,943)

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    National Tank & Equipment                                   -
    OILFIELD CHEMICAL SOLUTIONS,LLC                             -
    ODESSA PUMPS & EQUIPMENT, INC.                              -
    WELLS FARGO BANK,N.A.                                       -
    One Source Energy Services                                  -
    OLD SCHOOL SERVICES                                         -
    PETRO AMIGOS SUPPLY INC.                                    -
    PAJUAL ENTERPRISE,LLC                                       -
    Pason Systems USA Corp                                    5,501
    Patterson-UTI Drilling Company, LLC                         -
    Patterson Services, Inc                                   1,694
    Paladin Completion Services                                 -
    Pradon Construction & Trucking                           16,920
    Precision Drilling Company, LP                              -
    Taurex Drill Bits, LLC                                      -
    Pecos Enterprise                                            -
    Basin Supply, LP                                            -
    Permian Equipment Rentals                               641,467
    PETROPLEX SWD, LLC                                          -
    Polyflow, LLC                                           (13,955)
    Peak Oilfield Services, LLC                                 -
    Powersat Communications USA LP                              -
    Platinum Pipe Rentals, LLC                              172,363
    Permian Power Tong, LLC                                     -
    Premium Clean                                               -
    Predator Drilling, LLC                                      -
    Prime Time Water Supply, LLC                                -
    Professional Directional Enterprises                    225,000
    PROPETRO SERVICES, INC.                                     -
    PRO SELECT SWD 4 LLC                                        -
    Pate Trucking Company, LLC                                1,913
    Patriot Premium Threading Services,LLC                      -
    Petro Waste Environmental, LP                             1,483
    QES Pressure Control, LLC                               (22,742)
    QWIKPIPE INC.                                               -
    R 360 ENVIRONMENTAL SOLUTIONS, LLC                          848
    RAMOS TUBING TESTING, INCORPORATED                          -
    Ranger Energy Services, LLC                                 -
    Red Bone Services, LLC                                      -
    Reeves County Resources, LLC                             14,310
    RDL Transportation Inc                                  281,000
    Reservoir Data Systems                                      -
    RDUB TRUCKING                                           282,696
    RedRiver Oilfield Services, LLC                             -
    REDHEAD SERVICES, LLC                                       -
    THE REED HUMPHREYS LIMITED PARTNERSHIP                      -
    REPEAT PRECISION, LLC                                       -
    REPUBLIC SERVICES INC.                                    1,170
    Reveal Energy Services, Inc.                                -
    ROUGH GROUND SERVICES                                    32,029
    Rhino Rentals Inc                                       146,860
    RIGHT LIGHT SERVICES, LLC                                   -
    RJG ENTERPRISES, LLC                                      5,480

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    Rolfson Oil, LLC                                        (17,196)
    ROOK CONTRACTORS CORPORATION                                -
    River Rock Energy, Inc.                                 149,790
    Rock Tool Company                                       154,310
    RUSCO Operating, LLC                                        -
    RUSSAW TRANSPORT, LLC                                       -
    RWDY, Inc.                                                  -
    RWLS LLC                                                (13,857)
    Sage Rider                                                  -
    SANBAR ENERGY SERVICES,LLC                                  -
    SAPPHIRE OILFIELD SERVICES, LLC                           3,250
    SCAN-X, LLC                                               2,105
    SCHLUMBERGER TECHNOLOGY CORP.                               -
    Schlumberger Rod Lift, Inc.                              13,574
    Synergy Cleaning Solutions, LLC                             -
    Stellar Drilling Fluids, LLC                                -
    SELECT ENERGY SERVICES,LLC                                  -
    STEP Energy Services (USA) Ltd.                             -
    Seyfarth Shaw, LLP                                          -
    Sidewinder Drilling LLC                                     -
    SIERRA HAMILTON                                             -
    Silver Zone, Inc.                                           -
    SitePro Automation Software Solutions                       -
    Solid Liberty RENTAL Services, LLC                          -
    Solid LIberty Services, LLC                              (2,120)
    SLYDER ENERGY SOLUTIONS,LLC                               5,396
    SMITH INTERNATIONAL, INC.                               (69,960)
    Snyper Energy Services, Inc.                                -
    Sonic Connectors LTD                                        -
    STRIDE OILFIELD SERVICES,LLC                                -
    SOUTHERN CONNECTIONS & SERVICES INC.                        -
    Spraberry Production Services                            56,305
    Supreme Production Services, Inc.                           -
    STELLAR AUTOMATION, INC.                                    -
    STEALTH OILWELL SERVICES                                    -
    Stealth Pump & Supply, LLC                                  -
    STONE OILFIELD SERVICES, INC.                            (3,829)
    STONE RENTALS II                                            -
    Standard Tubular Services, Inc.                             -
    Summit Casing Services, LLC                                 -
    Sun Drilling Products, Corp                                 -
    SHAW INTERESTS, INC.                                        -
    SWECO                                                    36,749
    SwiftWater - A Tetra Company                                -
    SYNERGY RENTALS, LLC                                        -
    TankLogix, LLC                                           81,788
    TANMAR RENTALS LLC                                      300,001
    Transontinental Group                                       -
    TCI - Casing Specialties, LLC                            23,435
    Innovex Downhole Solutions, Inc.                          6,928
    TECH MANAGEMENT, LLC                                        -
    Tejas Hot Shot Service                                   29,658
    TENARIS GLOBAL SERVICES USA CORPORATION                  (7,880)

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    Texas Energy Lobby, LLC                                     -
    Texas Fueling Services, Inc.                                -
    Targeted GeoVision, LLC                                     -
    THI Water Well                                           86,836
    TITAN PETROSERVICES, LLC                                102,633
    TIDAL LOGISTICS,INC.                                        -
    Tier One Energy, LLP                                        -
    TOPOGRAPHIC LAND SURVEYORS                                  -
    Tristate Oilfield Services, LLC                         219,000
    Total Energy Solutions, LLC                                 -
    Tank Partners Permian, LLC                                  -
    TORNADO PRODUCTION SERVICES,LLC                             -
    Tripleplay Transport, LLC                                   -
    TOTAL ROD CONCEPTS, INC.                                    -
    TRC SERVICES OF TEXAS, INC.                                 -
    TRIDENT STEEL CORPORATION                                   -
    Trio Equip. Rental & Services                               -
    Trojan Tubular Services, LLC                                -
    TRI R SERVICES,INC                                          -
    Turn Right Tools, LLC                                       -
    Tubular Solutions, Inc.                                  77,330
    Trans-Tex Cementing Services, LLC                     2,950,355
    Trans-Tex Dyno Services, LLC                             34,961
    Tryton Tools USA, Inc.                                   11,036
    TUCKER ENERGY SERVICES, INC                                 -
    T YORKMAN TRUCKING, LLC                                     -
    Ultra Blend Solutions Oilfield Services                     -
    ULTERRA DRILLING TECHNOLOGIES, L.P.                      41,980
    UltraFab                                                 36,936
    UMD SOLUTIONS,LLC                                           -
    UNITED CASING INCORPORATED                                  -
    United String Up Company, LLC                             1,500
    United Vision Logistics                                     -
    VES Survey International                                 47,652
    Vaughn Energy Services, Inc.                                -
    WADECO SPECIALTIES, LLC                                  (9,102)
    Water Works Field Services, LLC                             287
    WEAVER AND TIDWELL, LLP                                     -
    WELLTEC, INC.                                               -
    WELLEZ INFORMATION MANAGEMENT, LLC                          -
    WESTERN PETROLEUM, LLC                                      -
    WESTERN FALCON                                              -
    WEX BANK                                                    -
    Wellbore Fishing & Rental Tools, LLC                    129,088
    WESTERNGECO,LLC                                             -
    Wildcat Oil Tools, LLC                                      -
    Gulf Coast Business Credit                                  -
    WTG Fuels, Inc.                                             -
    WILBANKS TRUCKING SERVICES, LLC                         761,596
    YELLOWJACKET Oilfield Services                           23,760
    Youngs Mobile Homes                                         -
    ZPZ Delaware I, LLC                                         -
    Miscellaneous Vendor                                        -

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    ADMARC                                                      -
    Jensen Kohl Angelloz                                        -
    Big D Equipment Company                                     -
    Bank of Montreal                                            -
    Britt Trucking Company                                      -
    CAPITAL PREMIUM FINANCING                                   -
    Elisa Castillo                                              -
    David Cox                                                  (120)
    CULLIGAN WATER OF WEST TEXAS, INC.                          -
    Diversified Detection Services, Inc.                        -
    Document Shredding and Storage                              -
    EXTERNAL SYSTEMS                                            -
    IHS GLOBAL INC.                                             -
    J & M ENERGY SERVICES, LP                                   -
    KE Andrews & Company                                        -
    McCauley Family Trust                                       -
    MIDAMERICAN ENERGY COMPANY                                  (15)
    Mi SWACO                                                    -
    Natixis New York                                            -
    NextEra Energy Marketing, LLC                                 (3)
    OFFICE DEPOT                                                -
    PURCHASE POWER                                              -
    QUEST ELECTRICAL & MECHANICAL CORPORATIO                  1,177
    RELIANT                                                     -
    REYNOLD'S BROTHERS REPRODUCTION LTD.                        -
    Robert Half Finance & Accounting                         39,200
    SALAZAR SERVICE & TRUCKING, CORP.                           -
    CALLIE STEVENS                                              -
    TRAVELERS CL REMITTANCE CENTER                              -
    West Texas Office Equipment                                 -
    WolfePak Software                                           -
    AAA                                                         -
    B&T Rentals                                                 -
    Pumpco Energy Services, Inc.                                -
    Tetra Technologies                                          -
    TurboDrill / Scout Downhole                                 -
    Black Gold Rental Tools, Inc.                               -
                                                      $ 10,544,884




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